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                           UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA


   UNITED STATES OF AMERICA, the             Case No. 10-cv-03165 GHK (SSx)
   States of CALIFORNIA, COLORADO,
   CONNECTICUT, DELAWARE,                    DECLARATION OF STEPHEN Z.
   FLORIDA, GEORGIA, HAWAII,                 FADEM, M.D. IN SUPPORT OF
   ILLINOIS, INDIANA, LOUISIANA,             RELATOR’S MOTION TO COMPEL
   MARYLAND, MASSACHUSETTS,                  INTERROGATORY RESPONSES, THE
   MICHIGAN, MINNESOTA,                      PRODUCTION OF DOCUMENTS, AND
   MONTANA, NEVADA, NEW                      ADDITIONAL DEPOSITION
                                             TESTIMONY
   HAMPSHIRE, NEW JERSEY, NEW
   MEXICO, NEW YORK, NORTH
   CAROLINA, OKLAHOMA, RHODE
   ISLAND, TENNESSEE, TEXAS,
   VIRGINIA, WASHINGTON,
   WISCONSIN, the DISTRICT OF
   COLUMBIA, and the CITY OF
   CHICAGO,

                     Plaintiffs,
                     Ex rel.

   BEVERLY BROWN,

                     Plaintiff-Relator,
   v.

   CELGENE CORPORATION,

                     Defendant.


   DECLARATION OF STEPHEN Z. FADEM, M.D. IN SUPPORT OF RELATOR’S
   MOTION TO COMPEL INTERROGATORY RESPONSES, THE PRODUCTION
       OF DOCUMENTS, AND ADDITIONAL DEPOSITION TESTIMONY
        I, Stephen Z. Fadem, M.D. declare as follows:
        1.!   My name is Stephen Z. Fadem, and I am a nephrologist practicing in Houston,
  Texas. I have been retained by Relator’s counsel to provide an expert opinion as to whether
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  statutorily recognized drug compendia and scientific evidence and literature on which the
  compendia rely support the off-label uses Relator alleges Celgene promoted.1 My expert
  report is due on September 25, 2015.
        2.!    As will be detailed in full in my report, it is my opinion that the compendia do
  not support the off-label uses of Thalomid and Revlimid that Relator alleges Celgene
  promoted. Specifically at the time Relator alleges Celgene promoted the uses at issue, there
  was not adequate acceptable published scientific evidence that these drugs were safe and
  effective for the off-label uses that were listed and promoted. However, Celgene has either
  failed to produce or is unable to produce compendia discovery requested by Relator’s
  counsel that is relevant to my analysis; it would further enhance my analysis if it were
  produced.
        3.!    Relator has requested that Celgene produce all compendia in its possession,
  documents sufficient to identity the dates on which the compendia were obtained and
  consulted, the bibliography cited, as well as any documentation that identifies the process
  Celgene employed to evaluate the compendia and any conclusions that were drawn as to
  the off-label uses at issue in this case. Relator also asked that Celgene provide a narrative
  identifying the compendia Celgene analyzed, the date of analysis, the individuals who
  performed any analysis, and any conclusions that were drawn regarding the effectiveness
  of Thalomid and Revlimid to treat the off-label uses identified in Relator’s complaint.
  Finally, Relator asked that Celgene produce a witness to testify as to Celgene’s formal and
  informal processes governing review of the compendia and use of the compendia in its
  public representations regarding its drugs. For the reasons set forth below, the requested
  discovery would assist my analysis.


  1
    I will detail my qualifications in greater detail in my report, but by way of background
  for the Court, I have participated in the development of clinical guidelines and measures,
  participated in pharmacy and therapeutics meetings, and have both developed clinical
  protocols for multicenter clinical trials and have been a principal investigator in clinical
  trials. I have served in the editorial board of medical journals and have been active in the
  peer review process.
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        4.!    In a decision with which I was provided, this Court held “Whether or not any
  particular use is ‘supported’ by the compendia is a complex, case-by-case inquiry”.
  (Exhibit A at 6). I fully agree; appropriate analysis requires an evaluation of the underlying
  scientific studies cited by the compendia and the language the compendia used in their
  monographs to describe the off-label use of Revlimid and Thalomid. Whether the
  compendia and the studies they cite were free from undue influence by Celgene is highly
  relevant as to whether or not the compendia entry can be considered reliable. To make this
  analysis, one must have access to any process used by Celgene to assess the compendia.
  This must be appraised in conjunction with Celgene’s communications to the compendia
  and actions they took that would influence the contents of the compendia.
        5.!    I am able to reach some conclusions as to these issues based on the evidence I
  have seen to date, but the evidence provided is incomplete and should be supplemented
  further.
        6.!    The evidence I have seen to date documents Celgene exercised undue
  influence over both the scientific publications on which the compendia relied and the actual
  language the compendia used in drafting monographs.2 Documents provided to me thus far
  detail how Celgene’s marketing department implemented a publications plan to “manage”
  scientific publications to further Celgene’s marketing and promotional needs. The plan was
  enacted by Celgene contractor Excerpta Medica, a component of Elsevier, one of the
  world’s leading scientific/medical publishers. (Exhibit B, CELBRN0280498). When
  Excerpta Medica and Celgene began their relationship, Excerpta Medica promised Celgene
  it would “leverage” its relationship with its corporate affiliates on Celgene’s behalf. (Id.)
  Celgene appears to have done that.
        7.!    Celgene and Excerpta Medica developed an extensive publication process that
  gave Celgene and Excerpta Medica significant involvement and authority as to all steps of
  2
    This declaration does not address all instances of Celgene’s manipulation of the
  scientific literature or compendia. I expect to provide additional detail and other examples
  in my report and would address this more fulsomely still if the discovery Relator requests
  is authorized and provides more information.
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  the research and publication process, from study selection, to researcher and author
  selection, to editing. (See Exhibit C at 5). Throughout my entire career, now spanning 35
  years, I have come to rely on the scientific literature, including Elsevier publications, as
  highly reliable and unbiased resources on which I could rely to make complex clinical
  decisions. This degree of involvement in purportedly independent, unbiased scientific
  publications is highly disappointing and very unsettling to me as a practicing physician, and
  I believe is not fully disclosed, known to or appreciated by the medical community at large
  and perhaps the compendia. This is shocking and taints my view of how the scientific
  literature is created.
         8.!    A majority of studies cited by the compendia do not establish the safety or
  efficacy of off-label usage –they are preliminary investigations of use of Thalomid or
  Revlimid to treat off-label conditions and cannot be held as supportive of substantive
  conclusions. Whether the compendia were aware of Celgene’s role in influencing these
  studies and publications is relevant.
         9.!    Relevant to my analysis is the degree to which Celgene influenced the
  compendia and whether the compendia based their description of off-label uses of Thalomid
  and Revlimid on urgings by Celgene rather than a careful examination of the underlying
  scientific data. There is existing evidence to this effect. By way of example, in 1999,
  Celgene’s Director of Medical Affairs Kenneth Resztak sought to induce the American
  Hospital Formulary Service (AHSF) to change its forthcoming monograph for Thalomid.
  (See Exhibits D, E.) In his communication to an AHFS editor, Dr. Resztak, stated “Activity
  in the treatment of multiple myeloma has clearly been demonstrated.” (Exhibit D at
  003264; Exhibit E). Handwritten comments on a copy of the document indicate that AHSF
  was unwilling to state that activity was clearly demonstrated but would change its language
  to say “Phase II work has been initiated.” (Exhibit E). Among other requested changes,
  Dr. Resztak also stated that AHFS’s statement that “thalidomide should be considered the
  ‘drug of last resort’ is not a fair statement” and claimed, “In multiple myeloma it may
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  become first line therapy.” (Id.) Handwritten responses indicate that e someone at ASHP
  wrote, “I’m not sure this is true,” and “See our reword.” (Id).
        10.!   The AHFS compendium indeed appears to have reworded the proposed
  monograph in response to Dr. Resztak’s letter.        No published version of the AHFS
  compendium stated that Thalomid should be considered “the drug of last resort” for
  multiple myeloma as did the draft to which Dr. Resztak objected. Consistent with the
  comments responding to Dr. Resztak’s letter, the 2001 AHFS compendium stated: “Several
  phase II studies have been initiated to evaluate use of thalidomide (usually as part of a
  combination regimen) for the treatment of refractory or relapsed multiple myeloma.”
  Exhibit F. at 3659.3
        11.!   Counsel also informs me that whether Celgene knowingly or recklessly
  misrepresented the contents of the compendia us at issue in this case. In some respects, this
  is a legal issue to be argued by counsel and decided by the Court or jury. But I can provide
  a factual assessment as to whether any of Celgene’s representations constitute a
  scientifically plausible interpretation of the compendia’s treatment of particular off-label




  3
    As addressed in my report, the altered language and underlying scientific evidence still
  does not support the uses Relator alleges (and documents indicate) Celgene promoted.
  For example, addressing multiple myeloma, the 2001 AHFS compendium stated that the
  “the role of the drug [Thalomid] as monotherapy and as a component of chemotherapeutic
  regimes in earlier stages of the cancer remains to be determined.’ Exhibit F. at 3659 and
  3660. AHFS correctly continued to use this language even after Thalomid received its
  indication for multiple myeloma over half a decade later. Relator alleges that Celgene
  promoted Thalomid for newly diagnosed multiple myeloma essentially upon receipt of its
  1998 indication for ENL.
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  uses of Thalomid and Revlimid.4 Celgene’s processes for assessing the compendia have
  relevance to this issue as well. To the extent I am provided with discovery on any processes
  Celgene adopted and/or employed to assess the contents of the compendia, I can assess
  whether any methodology Celgene used to evaluate the compendia and underlying science
  on which they rely is scientifically valid and employs a reasonable analysis.
        12.!   I would like to see any evidence that shows the compendia undertook an
  independent analysis of scientific studies free from undue influence by Celgene and that
  Celgene, in turn, adopted and implemented a process to assess the compendia’s treatment
  of the scientific literature. If Celgene instead had no formal or informal process to evaluate
  the contents of the compendia because it controlled the information from which the
  compendia drew their conclusions and directly influenced the compendia’s presentation of
  those conclusions, that is relevant to my assessment of reliability of the compendia and
  Celgene’s public representations of compendia contents.
        13.!   In short, my career experience and background enables me to offer critical
  insights into key elements of this case. But, my analysis involves complex and highly
  interrelated issues. In order to provide the most thorough analysis possible, I need a
  complete understanding of Celgene’s interactions with the compendia, including the




  4
    Current evidence indicates they do not. For example, in an email provided to me,
  Celgene’s employee Eileen Finnegan stated that the 2000 edition of edition of the
  American Hospital Formulary Service compendium (AHFS) “recognized Thalomid’s
  effectiveness in several off-label indications including many cancer uses (breast, ovarian,
  head etc.).” Exhibit G. Through 2008, the AHFS stated that Thalomid was “being
  evaluated for the treatment of a variety of malignancies, including advanced or metastatic
  breast cancer], Kaposi’s sarcoma]’, melanoma+’, multiple myeloma]’, ovarian cancer+’,
  primary brain tumors]’ (recurrent high-grade astrocytomas and mixed gliomas), androgen-
  independent prostate cancer+’, and renal carcinoma].” Exhibit H at 3697-98. Ms.
  Finnegan’s interpretation – which it appears was communicated to Celgene’s most senior
  executives, scientists, sales representatives and outside physicians (see Exhibit G) – is not
  a scientifically plausible assessment of the compendium.
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    manner in which it both influenced and evaluated the contents of the compendia.5 The
    discovery sought by Relator's counsel that has not been produced would help provide this
    understanding.                                                           Digitally signed by Stephen



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                                                                                        z
                                                                             o= Stephen Fadem MD PA, OU,
                                                                             email=fadem@bcm.edu, c=US
                                                   Kidney Associates, PLLC
                                                                             Location: Houston
                                                                             Date: 2015.09.2113:37:54-05'00'


                                                  Stephen Z. Fadem, M.D., FASN




    5
      Relatedly, I understand that important third party discovery remains pending. Four
    depositions of the compendia are outstanding. I understand that Relator's counsel noticed
    these depositions with ample time for me to review the testimony had these depositions
    taken place on the noticed dates. Because of the compendia's unavailability and
    scheduling conflicts they are instead taking place after my report is due. I reserve the
    right to supplement my report to address relevant testimony.
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 1                               CERTIFICATE OF SERVICE
 2        That I am a citizen of the United States and am a resident or employed in Orange
 3 County, California; that my business address is 903 Calle Amanecer, Suite 350, San
   Clemente, California 92673; that I am over the age of 18 and not a party to the above-
 4 entitled action.
 5
          That I am employed by a member of the United States District Court for the Central
 6 District of California and at whose direction I caused service of: DECLARATION OF
 7 STEPHEN Z. FADEM, M.D. IN SUPPORT OF RELATOR’S MOTION TO
   COMPEL INTERROGATORY RESPONSES, THE PRODUCTION OF
 8 DOCUMENTS, AND ADDITIONAL DEPOSITION TESTIMONY on the interested
 9 parties as follows:
10 X      BY ELECTRONIC MAIL: by electronically filing the foregoing with the Clerk of
11 the District Court using its ECF System pursuant to the Electronic Case Filing provision of
   the United States District Court General Order and the E-Government Act of 2002, which
12 electronically notifies said parties in this case:
13
     Howard F. Daniels                                Jay Edward Smith
14   howard.daniels@usdoj.gov                         js@gslaw.org
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20    Toni-Ann Citera                                Karen P. Hewitt
21    tcitera@jonesday.com                           kphewitt@jonesday.com
22
23        I declare that I am employed in the office of a member of the bar of this Court at
     whose direction the service was made.
24
25         Executed on September 22, 2015 at San Clemente, California.
26
                                                       /s/ Michele Ueda /s/
27                                                     Michele Ueda
28
                                                 1
                                     CERTIFICATE OF SERVICE
